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                                          1   Christopher M. Curran (pro hac vice)
                                              ccurran@whitecase.com
                                          2
                                              Lucius B. Lau (pro hac vice)
                                          3   alau@whitecase.com
                                              Dana E. Foster (pro hac vice)
                                          4
                                              defoster@whitecase.com
                                          5   White & Case LLP
                                              701 Thirteenth Street, N.W.
                                          6
                                              Washington, DC 20005
                                          7   Telephone: (202) 626-3600
                                              Facsimile: (202) 639-9355
                                          8
                                          9   Counsel to Defendants Toshiba Corporation,
                                              Toshiba America, Inc., Toshiba America
                                         10
                                              Information Systems, Inc., and Toshiba America
                                         11   Electronic Components, Inc.
                                         12
             701 Thirteenth Street, NW




                                                                     UNITED STATES DISTRICT COURT
              Washington, DC 20005
White & Case LLP




                                         13                         NORTHERN DISTRICT OF CALIFORNIA
                                                                       (SAN FRANCISCO DIVISION)
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                                         15
                                              IN RE: CATHODE RAY TUBE (CRT)                              Case No. 07-5944 SC
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                                              ANTITRUST LITIGATION                                         MDL No. 1917
                                         17
                                         18
                                              This Document Relates to
                                         19   Case No. 13-cv-1173-SC (N.D. Cal.)
                                         20
                                              SHARP ELECTRONICS CORPORATION;                   THE TOSHIBA DEFENDANTS’
                                         21   SHARP ELECTRONICS MANUFACTURING                  MOTION FOR LEAVE TO AMEND
                                              COMPANY OF AMERICA, INC.,                        THEIR MOTION TO DISMISS
                                         22
                                                                                               SHARP’S COMPLAINT
                                         23                        Plaintiffs,
                                                                                               ORAL ARGUMENT REQUESTED
                                         24
                                                   v.
                                         25                                                    Date:        January 24, 2014
                                              HITACHI, LTD., et al.,                           Time:        10:00 a.m.
                                         26
                                                                                               Before:      Hon. Samuel Conti
                                         27                        Defendants.
                                         28


                                                               THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO
                                                              AMEND THEIR MOTION TO DISMISS SHARP’S COMPLAINT
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                                          1                           NOTICE OF MOTION AND MOTION
                                          2   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
                                          3         PLEASE TAKE NOTICE that Defendants Toshiba Corporation, Toshiba America,
                                          4   Inc., Toshiba America Information Systems, Inc., and Toshiba America Electronic
                                          5   Components, Inc. (the “Toshiba Defendants”) hereby move the Court for an order granting
                                          6   the Toshiba Defendants leave to file their Amended Motion to Dismiss Sharp’s Complaint.
                                          7         This motion is based upon this Notice of Motion and Motion, the Memorandum of
                                          8   Points and Authorities in support thereof, and such other materials and information that the
                                          9   Court may properly consider.
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                                                                THE TOSHIBA DEFENDANTS’ MOTION FOR LEAVE TO
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                                          1                     MEMORANDUM OF POINTS AND AUTHORITIES
                                          2         The Toshiba Defendants, by and through their undersigned counsel, hereby
                                          3   respectfully submit this Memorandum in Support of their Motion for Leave to Amend the
                                          4   Toshiba Defendants’ Motion to Dismiss Sharp’s Complaint (“Motion for Leave to
                                          5   Amend”). As reflected in the Toshiba Defendants’ proposed amended motion to dismiss —
                                          6   attached hereto as Exhibit A — the Toshiba Defendants, pursuant to the Supreme Court’s
                                          7   December 3, 2013 decision in Atlantic Marine Const. Co., Inc. v. U.S. Dist. Ct. for the W.
                                          8   Dist. of Tex., No 12-929, slip op. (U.S. Dec. 3, 2013), seek to amend the procedural grounds
                                          9   upon which they request the Court to dismiss the claims made by Sharp Electronics
                                         10   Corporation and Sharp Electronics Manufacturing Company of America, Inc. (collectively,
                                         11   “Sharp”).   Whereas the Toshiba Defendants’ original motion to dismiss relied upon
                                         12   Rules 12(b)(3) and 12(b)(6) of the Federal Rules of Civil Procedure in support of their
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                                         13   position that a forum-selection clause between Sharp and Toshiba requires dismissal of
                                         14   Sharp’s claims, the Toshiba Defendants now seek to dismiss Sharp’s claims based upon the
                                         15   doctrine of forum non conveniens and Rule 12(b)(6) of the Federal Rules of Civil Procedure.
                                         16   This is a minor technical amendment that will not prejudice Sharp. Because the Toshiba
                                         17   Defendants continue to rely upon their memoranda in support of their original motion to
                                         18   dismiss, no additional briefing is required.
                                         19         In Atlantic Marine, the Supreme Court observed that the proper procedural grounds
                                         20   “to enforce a forum-selection clause pointing to a [] foreign forum is through the doctrine of
                                         21   forum non conveniens.” Slip op. at 9-10. This statement deviates from long-standing Ninth
                                         22   Circuit precedent providing that claims that are subject to a forum-selection clause should
                                         23   be considered under Rule 12(b)(3) of the Federal Rules of Civil Procedure. See Argueta v.
                                         24   Banco Mexicano, S.A., 87 F.3d 320, 324 (9th Cir. 1996) (treating “a motion to dismiss
                                         25   premised on the enforcement of a forum selection clause” as a “Rule 12(b)(3) motion to
                                         26   dismiss for improper venue”).       The Toshiba Defendants followed this Ninth Circuit
                                         27   precedent in their Motion to Dismiss by relying upon Rule 12(b)(3) in support of their
                                         28   request that the Court dismiss Sharp’s claims. See Toshiba’s Motion to Dismiss Sharp’s

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                                          1   Complaint at 1, In re CRT Antitrust Litig., MDL No. 07-5944 (N.D. Cal. Oct. 7, 2013), ECF
                                          2   No. 2000 (“Motion to Dismiss”). Because the Supreme Court issued its Atlantic Marine
                                          3   decision after the briefing on this motion was complete, but before the scheduled hearing on
                                          4   December 20, 2013, the Toshiba Defendants file this motion for leave to amend their motion
                                          5   to reflect the proper procedural grounds for dismissing Sharp’s Complaint.
                                          6         Although there is “no procedural rule specifically addressing amendments to motions
                                          7   to dismiss” (Vanslambrouck v. Fairfield Indus. Inc., 2:11-CV-76-FTM-29SPC, 2011 WL
                                          8   2435947, at *1 (M.D. Fla. June 15, 2011)), courts will follow Rule 1 of the Federal Rules of
                                          9   Civil Procedure and will grant such motions when they promote the “just, speedy, and
                                         10   inexpensive determination” of an action. In considering a motion for leave to file an
                                         11   amended motion to dismiss, the Vanslambrouck Court noted that there was “no bad faith, or
                                         12   intent to manipulate the court proceedings, and no prejudice to the plaintiffs.”
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                                         13   Vanslambrouck, 2011 WL 2435947, at *2. Thus, the Vanslambrouck Court allowed the
                                         14   amendment. The Court in Styles v. Triple Crown Publications, LLC, CIV. WDQ-11-3759,
                                         15   2012 WL 1964443, at *3 (D. Md. May 30, 2012), also considered a motion for leave to file
                                         16   an amended motion to dismiss, observing that the Court had not yet ruled upon the original
                                         17   motion to dismiss and that the plaintiffs would have the opportunity to respond to the
                                         18   amended motion to dismiss. In these circumstances, the Court allowed the amended motion
                                         19   to dismiss because the plaintiff “will not suffer any prejudice” and “allowing the
                                         20   amendment furthers judicial economy. Id. at *3. The Styles Court observed that there “is
                                         21   simply no reason to put [the Defendants] to the time and expense of filing an answer, or
                                         22   both [the Defendants and Styles] to the time and expense of addressing . . . issue[s] to be
                                         23   raised later in a motion for judgment on the pleadings, when [the issues] can easily be
                                         24   resolved now.” Id. (quoting In re Westinghouse Sec. Litig., No. A-91-354, 1998 WL
                                         25   119554, at *6 (W.D. Pa. Mar. 12, 1998) (internal quotation marks omitted)).
                                         26         Sharp will not be prejudiced if the Court grants the Toshiba Defendants’ Motion for
                                         27   Leave to Amend. Sharp will have the opportunity to respond to the amended motion to
                                         28   dismiss. In reality, however, there should be no need for Sharp to file any response. The

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                                          1   amended motion merely replaces Rule 12(b)(3) with the doctrine of forum non conveniens
                                          2   as a basis for the motion to dismiss. The amended motion relies upon the pre-existing
                                          3   briefing because the Supreme Court in Atlantic Marine did not change the substantive
                                          4   analysis associated with the enforcement of forum-selections clauses; rather, that decision
                                          5   only addressed the appropriate procedural mechanism to be used by courts and litigants. In
                                          6   Atlantic Marine, the Supreme Court directed district courts to consider “public-interest
                                          7   factors” and not arguments related to the inconvenience of a “preselected forum” in
                                          8   determining the enforceability of a freely negotiated forum-selection clause under the
                                          9   doctrine of forum non conveniens. Slip op. at 13-14. This analysis is substantively the same
                                         10   as the analysis previously used the Ninth Circuit under Rule 12(b)(3). See Richards v.
                                         11   Lloyd’s of London, 135 F.3d 1289, 1295-96 (9th Cir. 1998) (holding that enforcement of a
                                         12   foreign forum-selection clause does not violate public policy). Accordingly, the arguments
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              Washington, DC 20005
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                                         13   presented in the Toshiba Defendants’ Memorandum of Points and Authorities in Support of
                                         14   their Motion to Dismiss and their Reply in Support of their Motion to Dismiss also establish
                                         15   the grounds for the Court to dismiss Sharp’s Complaint under the doctrine of forum non
                                         16   conveniens.
                                         17         Granting the motion for leave to amend the motion to dismiss also furthers judicial
                                         18   economy. Even though the Toshiba Defendants have already filed their motion to dismiss
                                         19   against Sharp’s claims, the Toshiba Defendants have not waived their ability to seek
                                         20   dismissal of Sharp’s claims under the doctrine of forum non conveniens. These arguments
                                         21   could be raised in a later motion. See Chateau Des Charmes Wines Ltd. v. Sabate USA,
                                         22   Inc., C-01-4203 MMC, 2003 WL 22682483, at *2 (N.D. Cal. Nov. 10, 2003) (allowing
                                         23   defendant to file a second motion to dismiss under the doctrine of forum non conveniens
                                         24   even though the defendant already filed a motion under Rule 12(b)(3)). Consequently, the
                                         25   Toshiba Defendants proposed amendment to its motion to dismiss seeks only to invoke an
                                         26   argument that could be brought later via other means.
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                                          1        For these reasons, the Court should grant the Toshiba Defendants’ Motion for Leave
                                          2   to Amend.
                                          3                                                Respectfully submitted,
                                          4   Dated: December 9, 2013
                                          5
                                                                                       By: /s/ Lucius B. Lau
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                                                                                           Christopher M. Curran (pro hac vice)
                                          7                                                ccurran@whitecase.com
                                                                                           Lucius B. Lau (pro hac vice)
                                          8
                                                                                           alau@whitecase.com
                                          9                                                Dana E. Foster (pro hac vice)
                                                                                           defoster@whitecase.com
                                         10
                                                                                           701 Thirteenth Street, N.W.
                                         11                                                Washington, DC 20005
                                                                                           tel.: (202) 626-3600
                                         12
             701 Thirteenth Street, NW




                                                                                           fax: (202) 639-9355
              Washington, DC 20005
White & Case LLP




                                         13
                                                                                           Counsel to Defendants Toshiba
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                                                                                           Corporation, Toshiba America, Inc.,
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                                          1                                 CERTIFICATE OF SERVICE
                                          2
                                                    On December 9, 2013, I caused a copy of “THE TOSHIBA DEFENDANTS’
                                          3
                                              MOTION FOR LEAVE TO AMEND THEIR MOTION TO DISMISS SHARP’S
                                          4
                                              COMPLAINT” to be electronically filed via the Court’s Electronic Case Filing System,
                                          5
                                              which constitutes service in this action pursuant to the Court’s order of September 29, 2008.
                                          6
                                          7
                                                                                                /s/ Lucius B. Lau
                                          8                                                     Lucius B. Lau
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             701 Thirteenth Street, NW
              Washington, DC 20005
White & Case LLP




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